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                               UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
   LIABILITY LITIGATION
                                                     Case No. 16-md-02741-VC


   This document relates to:                         ORDER GRANTING DEFENDANT
                                                     MONSANTO COMPANY'S MOTION
   SEE ATTACHMENT                                    FOR LEAVE TO FILE MOTION FOR
                                                     RECONSIDERATION OF PRETRIAL
                                                     ORDERS NO. 313, 317, 319, 324, AND
                                                     326
                                                     Re: Dkt. No. 20450

         The request for leave to file a motion for reconsideration of the Court’s Pretrial Orders

No. 313, 317, 319, 324, and 326—which denied in whole or in part Monsanto’s motions to

exclude Plaintiffs’ experts Drs. Martyn Smith, Mark Levin, Kristan Aronson, Kevin Knopf, and

Solomon Hamburg respectively—is granted. The brief filed by Monsanto in support of that

request is deemed the motion for reconsideration. Lead Plaintiffs’ counsel shall file a response to

the motion for reconsideration no later than 7 days from the date of this order. Counsel for the

individual plaintiffs impacted by the motion may also file a response by that same day if they

wish.

         IT IS SO ORDERED.

Dated: April 10, 2025
                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge
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                                 ATTACHMENT
      No.                   Case Name                     Case No.
1.          Belfleur, Jean                      20-cv-00621
2.          Berenfeld, Sharon                   18-cv-01428
3.          Daulton, Renee Theresa              20-cv-08518
4.          Drons, Robert                       20-cv-08167
5.          El-Hakam, Bakri                     21-cv-09937
6.          Fleischhauer, Dieter                21-cv-05971
7.          Fox, Susan                          20-cv-08847
8.          Glassman, Philip                    20-cv-00024
9.          Gordon, Garfield                    19-cv-06423
10.         Haase, Caryl Ann                    19-cv-05957
11.         Harris, Douglas                     16-cv-05786
12.         Hayes, Robin                        21-cv-05398
13.         Holmes, Christopher                 20-cv-03363
14.         Huntley, Carol                      19-cv-06407
15.         Kay, Linda                          21-cv-00175
16.         McDermott, Michael                  20-cv-07219
17.         Penalver, Jorge                     20-cv-08801
18.         Pinheiro, Paula                     20-cv-08173
19.         Proctor, Mark                       21-cv-00172
20.         Romano, Nathan P.                   20-cv-06194
21.         Rubin, Joel                         20-cv-05870
22.         Skonicki, Barbara                   20-cv-08053
23.         Sullivan, Patrick                   22-cv-00092
24.         Tudal, Steven                       20-cv-05871
25.         Vander Groef, Chris                 19-cv-07858
26.         Levy, Robert                        21-cv-07643
